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     UNITED STATES OF AMERICA
17
                              UNITED STATES DISTRICT COURT
18
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,                No. 23-CR-00021-JGB
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               Plaintiff,                     [PROPOSED] ORDER CONTINUING TRIAL
21                                            DATE AND FINDINGS REGARDING
                     v.                       EXCLUDABLE TIME PERIODS PURSUANT
22                                            TO SPEEDY TRIAL ACT
     JASON EDWARD THOMAS CARDIFF,
23
               Defendant.                     CURRENT TRIAL DATE: 9/3/24
24                                            PROPOSED TRIAL DATE: 2/4/25

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 1        The Court has read and considered the Stipulation Regarding

 2   Request for (1) Continuance of Trial Date and (2) Findings of

 3   Excludable Time Periods Pursuant to Speedy Trial Act, filed by the

 4   parties in this matter on August 22, 2024.         The Court hereby finds

 5   that the Stipulation, which this Court incorporates by reference into

 6   this Order, demonstrates facts that support a continuance of the

 7   trial date in this matter, and provides good cause for a finding of

 8   excludable time pursuant to the Speedy Trial Act, 18 U.S.C. § 3161.

 9        The Court further finds that:          (i) the ends of justice served by

10   the continuance outweigh the best interest of the public and

11   defendant in a speedy trial; (ii) failure to grant the continuance

12   would be likely to make a continuation of the proceeding impossible,

13   or result in a miscarriage of justice; and (iii) failure to grant the

14   continuance would unreasonably deny defendant continuity of counsel

15   and would deny defense counsel the reasonable time necessary for

16   effective preparation, taking into account the exercise of due

17   diligence.

18        THEREFORE, FOR GOOD CAUSE SHOWN:

19        1.      The trial in this matter is continued from September 3,

20   2024, to February 4, 2025. The status conference hearing is continued

21   to January 13, 2025.

22        2.      The time period of September 3, 2024, to February 4, 2025

23   inclusive, is excluded in computing the time within which the trial

24   must commence, pursuant to 18 U.S.C. §§ 3161(h)(7)(A), (h)(7)(B)(i),

25   and (B)(iv).

26        3.      Defendant shall appear in Courtroom 1 of the George E.

27   Brown, Jr. Federal Building and United States Courthouse, 3470

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 1   Twelfth Street, Riverside, CA 92501-3801 on February 4, 2025 at 9:00

 2   a.m.

 3          4.   Nothing in this Order shall preclude a finding that other

 4   provisions of the Speedy Trial Act dictate that additional time

 5   periods are excluded from the period within which trial must

 6   commence.   Moreover, the same provisions and/or other provisions of

 7   the Speedy Trial Act may in the future authorize the exclusion of

 8   additional time periods from the period within which trial must

 9   commence.

10          IT IS SO ORDERED.

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12
      DATE                                       HONORABLE JESUS G. BERNAL
13                                               UNITED STATES DISTRICT JUDGE
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16   Presented by:
17       /s/
     Manu J. Sebastian
18   Trial Attorney
     Consumer Protection Branch
19   U.S. Department of Justice
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